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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




                                           )
                                           )
In re: Oil Spill by the Oil Rig DEEPWATER  )       MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April 20, )
2010                                       )       Section: J
                                           )
This Document Relates to: No. 10-1497,     )       Judge Barbier
No. 10-1630                                )       Mag. Judge Shushan
                                           )
                                           )
                                           )
                                           )

Notice of Hearing for Federal Defendants’ Motion to Sever Administrative Procedure Act
        (“APA”) Cases or, In the Alternative, to Assign Cases to Separate Tracks


       Federal Defendants in the above-numbered cases, Gulf Restoration Network Inc. et al. v.

Salazar et al., No. 1497, filed May 18, 2010 (“Gulf Restoration Network I”), and Gulf

Restoration Network Inc. et al. v. Department of the Interior et al., No. 1630, filed June 3, 2010

(“Gulf Restoration Network II”), hereby give notice of their intent to move to sever two cases

brought against them that have been centralized for pre-trial purposes as part of this

multi-district litigation (“MDL”) proceeding, In re: Oil Spill by the Oil Rig DEEPWATER

HORIZON in the Gulf of Mexico on April 20, 2010, No. 10-2179 (E.D. La.), or that the cases be

assigned to separate tracks, on September 29, 2010 at 9:30 a.m. before the Honorable Carl. J.

Barbier.
    Case 2:10-md-02179-CJB-DPC Document 174-2 Filed 09/07/10 Page 2 of 2




Dated: September 7, 2010                   Respectfully Submitted,

                                           IGNACIA S. MORENO
                                           Assistant Attorney General
                                           Environment and Natural Resources Division

                                            s/ Kristofor R. Swanson
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         I hereby certify that on this 7th day of September, 2010, I electronically filed the
foregoing NOTICE OF HEARING FOR FEDERAL DEFENDANTS’ MOTION TO SEVER
CASES BROUGHT PURSUANT TO THE ADMINISTRATIVE PROCEDURE ACT OR, IN
THE ALTERNATIVE, TO ASSIGN SUCH CASES TO SEPARATE TRACKS, and proposed
order, with the Clerk of Court using the CM/ECF system which will send a notice of electronic
filing to the following counsel of record: Alisa A. Coe, David G. Guest, and Monica K. Reimer.
The CM/ECF system will also send a notice of electronic filing to Interim Liaison Counsel for
the consolidated cases: Stephen J. Herman, James Parkerson Roy, Don K. Haycraft, Donald
Godwin, Deborah D. Kuchler, Phil Wittmann, and Kerry Miller.

                                            s/ Kristofor R. Swanson
                                           KRISTOFOR R. SWANSON, Trial Attorney
